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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                      Exhibit 2
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                                                                        Page 1

  1                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
  2                            COLUMBIA DIVISION
                     CASE NO. 3:21-CV-03302-MBS-TJH-RMG
  3
          THE SOUTH CAROLINA STATE CONFERENCE OF
  4       THE NAACP, AND TAIWAN SCOTT, ON BEHALF
          OF HIMSELF AND ALL OTHER SIMILARLY
  5       SITUATED PERSONS,
  6                   Plaintiffs,
  7              vs.
  8       THOMAS C. ALEXANDER, HENRY D. MCMASTER,
          IN HIS OFFICIAL CAPACITY AS GOVERNOR OF
  9       SOUTH CAROLINA; HARVEY PEELER, IN HIS
          OFFICIAL CAPACITY AS PRESIDENT OF THE
10        SENATE; LUKE A. RANKIN, IN HIS OFFICIAL
          CAPACITY AS CHAIRMAN OF THE SENATE
11        JUDICIARY COMMITTEE; JAMES H. LUCAS, IN
          HIS OFFICIAL CAPACITY AS SPEAKER OF THE
12        HOUSE OF REPRESENTATIVES; CHRIS MURPHY,
          IN HIS OFFICIAL CAPACITY AS CHAIRMAN OF
13        THE HOUSE OF REPRESENTATIVES JUDICIARY
          COMMITTEE; WALLACE H. JORDAN, IN HIS
14        OFFICIAL CAPACITY AS CHAIRMAN OF THE
          HOUSE OF REPRESENTATIVES ELECTIONS LAW
15        SUBCOMMITTEE; HOWARD KNABB, IN HIS
          OFFICIAL CAPACITY AS INTERIM EXECUTIVE
16        DIRECTOR OF THE SOUTH CAROLINA STATE
          ELECTION COMMISSION; JOHN WELLS, JOANNE
17        DAY, CLIFFORD J. ELDER, LINDA MCCALL,
          AND SCOTT MOSELEY, IN THEIR OFFICIAL
18        CAPACITIES AS MEMBERS OF THE SOUTH
          CAROLINA STATE ELECTION COMMISSION,
19
                          Defendants.
20
21        DEPOSITION OF:         ANDREW THEODORE FIFFICK
                                 (Appearing via VTC)
22
          DATE:                  July 21, 2022
23
          TIME:                  10:10 a.m.
24
25

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                                                                        Page 2

 1       LOCATION:            Robinson Gray, LLC
                              1310 Gadsden Street
 2                            Columbia, South Carolina
 3       TAKEN BY:            Counsel for the Plaintiffs
 4       REPORTED BY:         KAREN M. ERNST, CSR
                              (Appearing via VTC)
 5       ___________________________________________________
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 1       never known anybody who has done that.
 2                  Q.    Do you have any basis to believe that
 3       racially polarized voting exists in South Carolina?
 4                  A.    I haven't considered it.              I've done no
 5       analysis.       There's nothing I have that I can tell
 6       you is dispositive of that or not.                  We didn't do
 7       that.
 8                  Q.    Like with respect to the 2020
 9       presidential data, did you or other members of the
10       team developing congressional maps of legislators
11       have data to conduct racially polarizing voting
12       analyses?
13                  A.    Again, since I don't know exactly how
14       you conduct one of those analyses, I don't know
15       whether we had sufficient information to do it.
16                  Q.    You hired Will Roberts because you
17       believed that he had the expertise to develop maps
18       for the Senate; is that correct?
19                  A.    Yes, ma'am.       He's a GIS operator, and
20       he's been drawing maps for 20 years or so.
21                  Q.    And you hired Mr. Terreni and Mr. Gore
22       because you and members of the Senate collectively
23       believed that with their experience, they could
24       educate you, guide you on the legal compliance of
25       maps; is that fair?

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                                                                   Page 164

 1                  A.   That's correct.
 2                  Q.   Is it possible for the Senate to have
 3       hired someone to examine racially polarized voting
 4       patterns, any racially polarized voting patterns in
 5       South Carolina?
 6                  A.   Is it possible that we could have, or
 7       is it possible we did?
 8                  Q.   Is it possible that you could have?
 9                  A.   Certainly.       We could hire anybody to do
10       anything.
11                  Q.   During the public hearings that you
12       participated in, the ten public hearings --
13       actually, let me correct that.                Were you -- let me
14       ask you a question before I get there.
15                       Were you present at all ten hearings
16       that were held over the summer?
17                  A.   I believe I was, yeah.
18                  Q.   During the ten public hearings you were
19       present at and the legislative hearings that you
20       were present at, were you aware of legislators
21       and/or members of the public asking that racially
22       polarized voting analysis be conducted?
23                  A.   I do know -- I remember some people in
24       the public asking for it.             I don't remember whether
25       or not members asked.

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                                                                   Page 165

 1                       If anyone did it, maybe it was Senator
 2       Harpootlian maybe at some point, I think.                      But it
 3       was not in a direct -- it was not walk into Andy's
 4       office and say, you need to go hire somebody to do
 5       this.      My recollection is more of rhetorical
 6       argument in a go-between amongst senators, if it
 7       happened at all.
 8                  Q.   And no one in the map room asked you to
 9       conduct a racially polarized voting analysis?
10                  A.   I don't remember anybody ever sitting
11       in the map room saying population for polarized
12       voting analysis or asking anyone else in the map
13       room to do that.       I don't --
14                  Q.   And it's -- oh, I'm sorry.
15                  A.   I said I don't recall that, no.
16                  Q.   And it's your position that Senator
17       Harpootlian may have been the person who asked for
18       it during public proceedings?
19                  A.   It could be, and because he was doing
20       his own thing, doing his own map, all that, I mean,
21       I guess we all figured he was doing his own
22       racially polarized voting analysis.                 I guess he
23       wanted to produce it --
24                  Q.   And you're not aware -- oh, I'm sorry.
25                  A.   I'm not aware -- I'm sorry.               Go ahead.

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                                                                      Page 253

 1       recollection -- I guess we'd call this an eyeball
 2       test -- I don't remember it being possible.
 3                  Q.   And do you think you can make a
 4       determination about whether there can be a majority
 5       black district based upon an eyeball view?
 6                  A.   Well, I mean, looking at it, looking at
 7       the map and where the population was, I just don't
 8       think we thought -- and this is in Section 2 House
 9       so it would be much more in Charlie's wheelhouse,
10       but I don't think -- and also no one ever came to
11       us and asked us to do one either, so I think those
12       are the factors that kind of led us down that path.
13       I don't recall anybody ever asking us to do that.
14                  Q.   But you are not aware of anyone
15       affirmatively attempting to draw an additional
16       majority black district?
17                  A.   No.     I don't recall ever doing that,
18       no.
19                  Q.   Was the political data, the 2020
20       presidential election data considered during the
21       development of this initial Staff Plan?
22                  A.   I believe so, yes.
23                  Q.   Was a racially polarized voting
24       analysis conducted during consideration of this
25       initial Staff Plan?

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                                                                   Page 254

 1                       MR. TYSON:       Objection; asked and
 2       answered numerous times.
 3                       THE WITNESS:        No.      Not to my knowledge,
 4       no.
 5       BY MS. ADEN:
 6                  Q.   Who would have been responsible for
 7       making the assessment that the initial Staff Plan
 8       was not a racial gerrymander?
 9                  A.   We would have relied upon Charlie
10       Terreni and John Gore.
11                  Q.   What about whether the districts were
12       contiguous?      Who would have made that assessment in
13       the initial Staff Plan?
14                  A.   It would have probably been -- Will
15       drew the map so he could see whether things were
16       produced or not.       So we all looked at the map, but
17       he was actually drawing a map so that's pretty much
18       a no brainer to draw a map that's contiguous.
19                  Q.   And what about communities of interest?
20       Who would have taken responsibility to ensure that
21       those kind of guideline criteria respecting
22       communities of interest was respected, reflected in
23       the initial Staff Plan?
24                  A.   I think it would have been a kind of
25       everybody in the room discussion.

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                                                                    Page 255

 1                  Q.   And what about constituent consistency?
 2       Who would have been responsible for making that
 3       determination?
 4                  A.   Again, everybody in the room
 5       discussion.      And by seeing the map, you know, which
 6       didn't change a lot of lines -- just about anybody
 7       could make that initial change -- but again, this
 8       was a first staff map so I don't know that we
 9       really were cognizant of everything because we knew
10       it was going to change.            We knew the numbers were
11       going to change it.
12                  Q.   And who would have been responsible for
13       determining whether the plan minimized divisions of
14       counties, cities and towns, and/or splits of VTDs?
15                  A.   I think those are again numbers that
16       really would have happened but not determined.
17       It's just what the numbers were.
18                  Q.   And district compactness?
19                  A.   Compactness?
20                  Q.   District compactness.
21                  A.   Yeah.    I mean, I guess, you know,
22       everybody in the room kind of again looked at it
23       knowing that we were going to have many changes.
24       And all this would have gone on the back end up to
25       Charlie Terreni and John Gore.

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  1                  Q.   Have you heard of the term
  2       effectiveness analysis?
  3                  A.   I have not.      Well, I can't place it.             I
  4       don't recall.
  5                  Q.   During discussion of the initial Staff
  6       Plan or development of the initial Staff Plan, was
  7       there discussion about increasing, decreasing, or
  8       maintaining the black voting age population in
  9       particular districts?
 10                  A.   No.   I mean, I think everyone was
 11       cognizant that, you know, drastic changes in a
 12       staff map -- drastic changes meaning that we were
 13       requested to produce a least change map was always
 14       undoubtedly with problems.              In answering all these
 15       questions I'm giving, that was something we thought
 16       about.
 17                  Q.   Did you set out to preserve the same
 18       number of majority-minority districts in the
 19       initial Staff Plan as existed in the 2011 Staff
 20       Plan?
 21                  A.   Because it was a least change map plan,
 22       I think that was sort of the necessary result that
 23       came about.
 24                  Q.   What role did partisan considerations
 25       play in the development of the initial Staff Plan?

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  1                         CERTIFICATE OF REPORTER
  2
  3                     I, Karen M. Beckman, Court Reporter and
  4       Notary Public for the State of South Carolina at
  5       Large, do hereby certify that the foregoing
  6       transcript is a true, accurate, and complete record
  7       to the best of my ability.
  8                     I further certify that I am neither
  9       related to nor counsel for any party to the cause
 10       pending or interested in the events thereof.
 11                     Witness my hand, I have hereunto
 12       affixed my official seal this 26th day of July,
 13       2022, at Myrtle Beach, Horry County,
 14       South Carolina.
 15
 16
 17
 18
 19
 20                         <%21881,Signature%>
 21
 22
 23                             Karen M. Beckman
                                Court Reporter
 24                             My Commission expires
                                September 2, 2025
 25

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  2      Andrew Theodore Fiffick (#5327918)

  3                       E R R A T A    S H E E T

  4      PAGE_____ LINE_____ CHANGE________________________

  5      __________________________________________________

  6      REASON____________________________________________

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 21      REASON____________________________________________

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 23      ________________________________      _______________

 24      Andrew Theodore Fiffick                                 Date

 25

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  1      South Carolina State Conference Of Naacp v. Alexander, Thomas C. Et Al

  2      Andrew Theodore Fiffick (#5327918)

  3                     ACKNOWLEDGEMENT OF DEPONENT

  4          I, Andrew Theodore Fiffick, do hereby declare that I

  5      have read the foregoing transcript, I have made any

  6      corrections, additions, or changes I deemed necessary as

  7      noted above to be appended hereto, and that the same is

  8      a true, correct and complete transcript of the testimony

  9      given by me.

 10

 11      ______________________________       ________________

 12      Andrew Theodore Fiffick                              Date

 13      *If notary is required

 14                        SUBSCRIBED AND SWORN TO BEFORE ME THIS

 15                        ______ DAY OF ________________, 20___.

 16

 17

 18                        __________________________

 19                        NOTARY PUBLIC

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